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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHRISTINA WILLIAMS, et al., on behalf
 of herself and all others similarly situated,

                Plaintiffs,

       v.                                              No. 2:18-cv-02747-MSG

 RED STONE, INC., as successor in interest
 to MACFARLANE GROUP, INC., et al.,

               Defendants.

    NOTICE OF DEFENDANT MARK CURRY’S CONSENT AND RESPONSE TO
   PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY

       Defendant Mark Curry consents to plaintiffs’ motion for leave to file supplemental

authority, namely Gingras v. Think Finance, Inc., 2019 WL 1780951 (2d Cir. Apr. 24, 2019).

See ECF No. 103. But plaintiffs are wrong that Gingras—which concerns a materially different

arbitration agreement—supports their attempt to avoid arbitration. The Second Circuit

emphasized the need to “consider the specific lending agreements between these Plaintiffs and

these Defendants,” 2019 WL 1780951, at *1, rather than grouping all tribal lenders together.

       1.      Gingras invalidated an arbitration agreement on prospective-waiver grounds

because it was “[s]imilar to the agreement in” Hayes v. Delbert Services Corp., 811 F.3d 666

(4th Cir. 2016), “requir[ing] the application of tribal law only and disclaim[ing] the application

of state and federal law.” 2019 WL 1780951 at *10. Like in Hayes, the agreement in Gingras

expressly proclaimed that it was “subject solely to the exclusive laws and jurisdiction of the

Chippewa Cree Tribe,” such that “no other state or federal law or regulation shall apply.” Id. at

*2 (internal quotations omitted). Gingras shows the importance of the very different language in

the arbitration agreement here, which states that both Otoe-Missouria law and “such federal law
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as is applicable under the Indian Commerce Clause,” will apply. See Red Stone’s Mem. in Supp.

of Mot. to Compel Arbitration, Ex. A (ECF No. 79-1) at 18. That language lets plaintiffs pursue

their federal-law claims in arbitration because those claims involve generally applicable federal

law. See Reply (ECF No. 101-1) at 6, 10. At bottom then, Gingras is simply another case with

the same arbitration language as in Hayes, and without the crucial language here.1

       2.      Plaintiffs argue (Mot. 2) that Gingras shows that a “contract that contains an

FAA-prohibited prospective waiver is unenforceable in its entirety, delegation clause included.”

That overstates the Second Circuit’s holding—Gringas does not hold that a prospective-waiver

challenge to an arbitration agreement automatically vitiates the delegation clause.2 The Second

Circuit’s analysis instead relied on the plaintiffs’ “specific attack” that the delegation provision

furthered defendants’ “fraudulent” scheme to send all disputed issues to an illusory arbitral

forum where the only review would come from a “sham” tribal court that defendants purportedly

controlled. 2019 WL 1780951 at *9 (citing J. App. 55). Plaintiffs here have never made any

remotely similar charge about the arbitration process in their agreements, nor would there be any

basis for doing so.



Dated: May 2, 2019                                     Respectfully Submitted,


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  As noted in Curry’s reply, (ECF No. 101-1 at 5), the prospective-waiver doctrine applies only
to “federal statutory right[s],” not state-law rights. Am. Express Co. v. Italian Colors Rest., 570
U.S. 228, 235 (2013). Parties have “considerable latitude to choose what law governs” their
agreement, DirecTV, Inc. v. Imburgia, 136 S. Ct. 463, 468 (2015), and can freely “use a choice
of law clause” that excludes all state law, Hayes, 811 F.3d at 675.
2
  Nor would there be any basis for such a holding. Because the delegation clause is its own mini-
contract, see Rent-a-Center West v. Jackson, 561 U.S. 63, 70 (2010), plaintiffs must specifically
attack the validity of the delegation clause to invalidate it, id. at 71–72. Here, plaintiffs try to
satisfy that standard by arguing that the loan agreement’s choice-of-law provision also
invalidates the delegation provision. See Pls’ Opp. to Mot. to Compel Arbitration (ECF No. 100)
at 15. As Curry explained in his reply, that is simply wrong. See Reply (ECF No. 101-1) at 3–5.


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                               CERTIFICATE OF SERVICE

       On this 2nd day of May, 2019, I electronically filed the foregoing using the Court’s

CM/ECF system. The foregoing is available for viewing and downloading from that system,

which will also send e-mail notification of such filing to all attorneys of record in this action.



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